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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 FRANKLIN CAPITAL HOLDINGS, LLC,                  )
 an Delaware limited liability company,           )
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )   Case No.:
                                                  )
 FUELL, INC., a New York corporation, ED          )
 TUCKER DISTRIBUTOR, INC., a Texas                )
 corporation, and FRANCOIS-XAVIER                 )
 TERNY, an individual,                            )
                                                  )
                Defendants.                       )

                                    NOTICE OF REMOVAL

       Defendants, Fuell, Inc. (“Fuell”) and Francois-Xavier Terny (“Terny”) (collectively,

“Defendants”), pursuant to 28 U.S.C. §§ 1332(a), 1441(a), and 1446, hereby remove Franklin

Capital Holdings, LLC v. Fuell, Inc., Ed Tucker Distributor, Inc., and Francois-Xavier Terny,

Case No. 2022 CH 6375, from the Circuit Court of Cook County, Illinois, County Department,

Chancery Division, where it is currently pending, to the United States District Court for the

Northern District of Illinois, Eastern Division. In accordance with 28 U.S.C. § 1446(a), Fuell and

Terny provide the following basis for removal:

I.     STATEMENT OF JURISDICTION

       1.      The District Court has original jurisdiction under 28 U.S.C. § 1332(a)(1), and this

case should be removed pursuant to 28 U.S.C. § 1441, because it is a civil action between “citizens

of different States” wherein the amount in controversy exceeds the sum of seventy-five thousand

dollars ($75,000), exclusive of interest and costs.

       2.      As set forth below, jurisdiction within the District Court is proper and the action is

timely and properly removed upon the filing of this Notice of Removal.
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II.    THE STATE COURT ACTION

       3.      On July 1, 2022, Plaintiff, Franklin Capital Holdings, LLC (“Plaintiff”), filed a

Complaint in the Circuit Court of Cook County, Illinois, County Department, Law Division, Case

No. 2022 CH 6375 (the “State Court Action”). Summons was issued, but the Complaint has not

been served on either Fuell or Terny. (See Declaration of Francois-Xavier Terny, attached as

Exhibit A, ¶ 5.)

       4.      Fuell and Terny first learned of the existence of the State Court Action and

documents filed therein on or about July 7, 2022. (Exhibit A, ¶ 6.) (True and correct copies of the

Complaint, Emergency Motion for Temporary and Preliminary Injunction, and all accompanying

documents filed by Plaintiff and orders are attached hereto as Exhibit B.) See 28 U.S.C. § 1446(a)

(requiring submission of all process, pleadings, and orders served upon a removing defendant).

       5.      The Complaint asserts various claims against Fuell and Terny arising out of a

lending and accounts purchase relationship between Plaintiff and Fuell. Plaintiff also asserts

claims against Defendant, Ed Tucker Distributor, Inc. (“Tucker”), for an account stated and unjust

enrichment. (See Complaint, at Exhibit B).

       6.      Plaintiff seeks damages “in an amount in excess of $721,060.00 to be determined

at trial, plus costs, interest and attorneys’ fees.” (Exhibit B, at Count I Prayer for Relief, Count II

Prayer for Relief, Count III Prayer for Relief, and ¶ 62.)

III.   REMOVAL IS APPROPRIATE UNDER 28 U.S.C. § 1332(a)

       7.      Removal is appropriate under 28 U.S.C. § 1332(a). Plaintiff, Tucker, Fuell, and

Terny are completely diverse, and the amount in controversy exceeds $75,000.

       8.      For purposes of diversity, the citizenship of a limited a limited liability company is

the citizenship of its members. See Equity Tr. Co. Custodian f/b/o Jeffrey M. Wagner I.R.A. v.




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Windwrap, LLC, 449 F. Supp. 3d 763, 766 (N.D. Ill. 2020); Cosgrove v. Bartolotta, 150 F.3d 729,

731 (7th Cir. 1998) (“[T]he citizenship of an LLC for purposes of the diversity jurisdiction is the

citizenship of its members.”). Here, Plaintiff pleads that it is a Delaware limited liability company

with its principal place of business in Highland Park, Illinois, but does not plead the citizenship of

each of its members. (Exhibit B, ¶ 6.) In order to determine the citizenship of Plaintiff’s members,

Defendants searched the available public records, including information from the Delaware

Secretary of State’s office and from Plaintiff’s other filings in in the United States District Courts.

Plaintiff has admitted in other filings before this Court that it is a citizen of Delaware and Illinois.

See Franklin Capital Holdings, LLC v. Christopher Smedley, Thomas Seifert, and Philip Dejoy,

Case No. 1:14-cv-08001 (N.D. Ill. 2014) (Dkt. No. 1, ¶ 1) (asserting that “Franklin is a Delaware

limited liability company with its principal place of business located in Highland Park, Illinois”

[and that] “[e]ach of the members of Franklin is a citizen of Illinois or Delaware.”). Accordingly,

Plaintiff is a citizen of Delaware and Illinois.

        9.      Fuell is a New York corporation with its principal place of business in New York,

New York, and Tucker is a Texas corporation with its principal place of business in Fort Worth,

Texas. (Exhibit B, ¶¶ 7, 9.) See 28 U.S.C. § 1332(c) (“[A] corporation shall be deemed to be a

citizen of every State and foreign state by which it has been incorporated and of the State or foreign

state where it has its principal place of business. . . .”); Wisconsin Knife Works v. Nat'l Metal

Crafters, 781 F.2d 1280, 1282 (7th Cir. 1986) (“The diversity statute deems a corporation a citizen

of any state in which it is incorporated and also of the state in which it has its principal place of

business.”)




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       10.     Terny, the Chief Executive Officer of Fuell, is domiciled in and therefore a citizen

of New York. (Exhibit B, ¶ 8.) See Cordero v. Torres, 18-CV-6863, 2019 WL 3287840, at *2

(N.D. Ill. July 22, 2019) (“[C]itizenship of an individual is determined by domicile.”).

       11.     Given that Plaintiff is not a citizen of either Texas or New York, and that none of

the Defendants, Fuell, Terny or Tucker, are citizens of Delaware or Illinois, the citizenship of the

parties is completely diverse pursuant to Section 1332(a)(1).

       12.     The amount in controversy requirement is also satisfied. Plaintiff seeks damages

“in an amount in excess of $721,060.00. . . .” (Exhibit B, at Count I Prayer for Relief, Count II

Prayer for Relief, Count III Prayer for Relief, and ¶ 62.) See Milwaukee Ctr. for Indep., Inc. v.

Milwaukee Health Care, LLC, 929 F.3d 489, 491 (7th Cir. 2019).

IV.    ALL OTHER REQUIREMENTS FOR REMOVAL HAVE BEEN SATISFIED

       13.     28 U.S.C. § 1446(b)(1) provides that a notice of removal must be filed within 30

days after service of process of a complaint:

       The notice of removal of a civil action or proceeding shall be filed within 30 days
       after the receipt by the defendant, through service or otherwise, of a copy of the
       initial pleading setting forth the claim for relief upon which such action or
       proceeding is based, or within 30 days after the service of summons upon the
       defendant if such initial pleading has then been filed in court and is not required to
       be served on the defendant, whichever period is shorter.

       14.     The Supreme Court of the United States has held that the 30-day clock does not

begin to run until formal service of process of a complaint and summons. Murphy Bros., Inc. v.

Michetti Pipe Stringing, Inc., 526 U.S. 344 (1999); see also Brown v. Lirios, 391 Fed. Appx. 539,

541 (7th Cir. 2010) (“[W]hen service occurs after the complaint is filed, a defendant has thirty

days from the date of proper service to remove.”); Phoenix Container, L.P. ex rel. Samarah v.

Sokoloff, 83 F. Supp. 2d 928, 930 (N.D. Ill. 2000) (“The Supreme Court recently clarified §

1446(b) by holding that the thirty-day removal period does not begin to run until a defendant is



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formally served with the complaint.”); Murphy Bros., Inc. 526 U.S. at 356 (1999) (noting the time

for Removal is triggered by the actual service of the Complaint, rather than its receipt by other

means); FED. R. CIV. P. 6(a).

       15.     Here, Fuell and Terny have yet to be served with the State Court Action, and

therefore, the 30-day removal period has not begun. In any event, Fuell and Terny became aware

of the State Court Action on or about July 7, 2022. (Exhibit A, ¶ 6.) Even if the 30-day clock were

to begin to run on July 7, 2022, Fuell and Terny’s Notice of Removal would be due on August 7,

2022. Accordingly, the instant Notice of Removal is timely.

       16.     The proper venue for removal is the “district court of the United States for the

district and division embracing the place where such action is pending.” 28 U.S.C. § 1441. The

Northern District of Illinois, Eastern Division, hears cases in Cook County, Illinois. 28 U.S.C.

93(a)(1).

       17.     Further, 28 U.S.C. § 1446(a) requires true and correct copies of “all process,

pleadings, and orders served upon” a defendant to be attached to the notice of removal. Fuell and

Terny have not been served with any papers in the State Court Action. However, through other

means, Fuell and Terny have obtained copies of the Complaint and accompanying pleadings and

orders, which are filed herewith as Exhibit B. Other than the Summons, Complaint, Emergency

Motion for Temporary and Preliminary Injunction, no other documents have been filed to date in

the State Court Action.

       18.     Pursuant to 28 U.S.C. § 1446(d), Fuell and Terny will promptly serve on Plaintiff

and file with the Circuit Court of Cook County, County Department, Law Division, a “Notice to

State Court and Adverse Parties of Removal of Action to the United States District Court.” See 28

U.S.C. § 1446(d).




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V.     CONSENT TO REMOVAL

       19.     According to the to the court docket for the Circuit Court of Cook County, Illinois,

County Department, Chancery Division, on July 5, 2022, Tucker was served with the Summons

and Complaint.

       20.     Pursuant to Section 1446(b)(2)(A), Tucker has consented to the removal of this

action to the United States District Court for the Northern District of Illinois, Eastern Division.

(See a copy of Tucker’s Consent to Removal, attached as Exhibit C.)

VI.    RESERVATION OF RIGHTS AND DEFENSES

       21.     Fuell and Terny hereby reserve all of their defenses and rights, including the right

to object as to service, personal jurisdiction, venue, defenses, exceptions, rights, and motions, and

none of the foregoing shall be construed in any way as conceding the truth of any of Plaintiff’s

allegations or waiving any of Fuell’s and Terny’s defenses or objections. Fuell and Terny deny

that Plaintiff has stated a claim for which relief may be granted.

       WHEREFORE, Defendants, Fuell, Inc. and Francois-Xavier Terny, pray that Franklin

Capital Holdings, LLC v. Fuell, Inc., Ed Tucker Distributor, Inc., and Francois-Xavier Terny,

Case No. 2022 CH 6375, currently pending in the Circuit Court of Cook County, Illinois, County

Department, Law Division, be removed therefrom to the United States District Court for the

Northern District of Illinois, Eastern Division.

Dated: July 13, 2022                                   Fuell, Inc. and Francois-Xavier Terny



                                                       By:    /s/ Mitchell J. Edlund
                                                              One of their attorneys




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                                  CERTIFICATE OF SERVICE

        I, Mitchell J. Edlund, an attorney, hereby certify that on July 13, 2022, I filed the foregoing

Notice of Removal electronically, via Electronic Case Filing (ECF), which shall send notice to all

counsel of record.


                                                       /s/ Mitchell J. Edlund




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